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                             UNITED STATES DISTRICT COURT
     9                      CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
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         MAYANNA BERRIN, individually, and on )
    12   behalf of all others similarly situated, ) Case No.: 2:23-cv-04150-MEMF-MRW
                                                  )
    13                           Plaintiff,       ) ORDER APPROVING JOINT
    14   v.                                       ) STIPULATION TO EXTEND TIME TO
                                                  ) FILE REPLY [ECF NO. 27]
    15   DELTA AIR LINES, INC.                    )
                                                  )
    16                           Defendant.       )
                                                  )
    17                                            )
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     1          Before the Court is the Parties’ Joint Stipulation to Extend Time to File a Reply in Support
     2 of Defendant’s Motion to Dismiss. ECF No. 27. The Parties have stipulated to extend Delta’s time
     3 to reply by seven (7) days to November 6, 2023. The Court, having considered and finding good
     4 cause therefor, hereby GRANTS the joint stipulation and ORDERS as follows:
     5          1. The deadline for Defendant Delta Air Lines, Inc., to file a reply to Plaintiff’s Opposition
     6             to the Motion to Dismiss is extended through November 6, 2023.
     7
     8          IT IS SO ORDERED.
     9
    10   Dated: November 2, 2023                           ___________________________________
    11                                                     MAAME EWUSI-MENSAH FRIMPONG
    12                                                             United States District Judge
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